                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

REBECCA CALABRIS AND DAVID             ) CIVIL ACTION NO. 1:18-CV-02373-WJM-NYW
CALABRIS,                              )
                                       )
            Plaintiffs,                )
                                       )
v.                                     )   DEMAND FOR JURY TRIAL
                                       )
DISH NETWORK L.L.C.,                   )
                                       )
            Defendant.                 )
_____________________________________________________________________________
 DEFENDANT DISH NETWORK L.L.C.’S ANSWER TO PLAINTIFFS’ COMPLAINT
                             AND COUNTERCLAIM
_______________________________________________________________________________
       Defendant DISH Network L.L.C. (“DISH”), through counsel, answers Plaintiffs Rebecca and

David Calabris’s (“Plaintiffs”) Complaint (Doc. 1) (the “Complaint”) as follows:

                                  NATURE OF THE ACTION

       1.      DISH admits that Plaintiffs purport to bring this action against DISH for alleged

violations of the TCPA pursuant to 47 U.S.C. § 227. DISH denies that Plaintiffs are entitled to

any of their requested relief and denies that it violated the TCPA.

                                JURISDICTION AND VENUE

       2.      DISH admits the allegations contained in Paragraph 2 of the Complaint.

       3.      DISH admits the allegations contained in Paragraph 3 of the Complaint.

                                            PARTIES

       4.      DISH is without knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 4 of the Complaint and, on that basis, denies those

allegations.
       5.      In response to the allegations contained in Paragraph 5 of the Complaint, DISH

states that it is a limited liability company organized under the laws of the State of Colorado; that

it provides satellite television products and services throughout the United States; and that its

headquarters are located at 9601 S. Meridian Blvd, Englewood, Colorado 80112. DISH denies the

remaining allegations contained in Paragraph 5 of the Complaint.

       6.      The allegations contained in Paragraph 6 of the Complaint state legal conclusions

or characterizations to which no response is required. To the extent that a response is required to

the allegations contained in Paragraph 6 of the Complaint, DISH denies those allegations.

            ALLEGED FACTS SUPPORTING PLAINTIFFS’ CAUSE OF ACTION

       7.      DISH admits that Plaintiffs are former DISH customers.             DISH denies the

remaining allegations contained in Paragraph 7 of the Complaint.

       8.      DISH is without knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 8 of the Complaint and, on that basis, denies those

allegations.

       9.      DISH admits that Plaintiffs routinely fell behind on their payments to DISH, to

which they were and are contractually obligated to pay. DISH denies the remaining allegations

contained in Paragraph 9 of the Complaint.

       10.     DISH denies the allegations contained in Paragraph 10 of the Complaint.

       11.     DISH denies the allegations contained in Paragraph 11 of the Complaint.

       12.     DISH denies the allegations contained in Paragraph 12 of the Complaint.

       13.     DISH denies the allegations contained in Paragraph 13 of the Complaint.




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       14.     DISH is without knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 14 of the Complaint and, on that basis, denies those

allegations.

       15.     DISH denies the allegations contained in Paragraph 15 of the Complaint.

       16.     DISH denies the allegations contained in Paragraph 16 of the Complaint.

                                           DAMAGES

       17.     DISH denies the allegations contained in Paragraph 17 of the Complaint.

       18.     DISH denies the allegations contained in Paragraph 18 of the Complaint.

       19.     DISH denies the allegations contained in Paragraph 19 of the Complaint.

       20.     DISH is without knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 20 of the Complaint and, on that basis, denies those

allegations.

  ALLEGED VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

       21.     DISH incorporates and adopts by reference DISH’s responses to the allegations set

forth in Paragraphs 1-20 of the Complaint.

       22.     DISH denies the allegations contained in Paragraph 22 of the Complaint.

       23.     The allegations contained in Paragraph 23 of the Complaint state legal conclusions

or characterizations to which no response is required. To the extent that a response is required to

the allegations contained in Paragraph 23 of the Complaint, DISH denies those allegations.

       24.     DISH denies the allegations contained in Paragraph 24 of the Complaint.

       25.     DISH denies the allegations contained in Paragraph 25 of the Complaint.

       26.     DISH denies the allegations contained in Paragraph 26 of the Complaint.

       27.     DISH denies the allegations contained in Paragraph 27 of the Complaint.

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        28.     DISH denies the allegations contained in Paragraph 28 of the Complaint.

        29.     DISH denies the allegations contained in Paragraph 29 of the Complaint.

        30.     DISH denies the allegations contained in Paragraph 30 of the Complaint.

        31.     DISH denies the allegations contained in Paragraph 31 of the Complaint.

        The “WHEREFORE” clause following Paragraph 31 of the Complaint sets forth legal

conclusions and Plaintiffs’ prayer for relief, to which no response is required. To the extent a

response is required, DISH denies the allegations contained in Plaintiffs’ “WHEREFORE” clause

and denies that Plaintiffs are entitled to the requested relief (or any other relief).

                                        GENERAL DENIAL

        DISH denies each and every allegation not specifically admitted in this Answer.

                                   AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE
                                   (Failure to State a Claim)

        The Complaint fails to state a claim upon which relief may be granted.

                              SECOND AFFIRMATIVE DEFENSE
                                     (Lack of Standing)

        Plaintiffs lack standing to assert the claims in the Complaint.

                             THIRD AFFIRMATIVE DEFENSE
                      (Estoppel, Unclean Hands, Waiver, Consent, Laches)

        Plaintiffs’ claims are barred, in whole or in part, by the doctrines of estoppel, unclean

hands, waiver, consent, and other equitable limitations.




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                             FOURTH AFFIRMATIVE DEFENSE
                                     (Intervention)

       Plaintiffs’ claims are barred or limited because the damages or injuries to Plaintiffs, to the

extent any exist, were caused in whole or in part by the acts or omissions of third parties over

which DISH had and has no control, and/or by the acts or omissions of Plaintiffs.

                               FIFTH AFFIRMATIVE DEFENSE
                                    (Prior Express Consent)

       Plaintiffs’ claims are barred to the extent that prior express consent, invitation, or

permission was given to take any acts alleged in the Complaint, including but not limited to

Plaintiffs having provided their telephone number(s) to DISH.

                               SIXTH AFFIRMATIVE DEFENSE
                                     (No Treble Damages)

       DISH has not acted willfully, knowingly, or intentionally, and, thus, Plaintiffs are not

entitled to treble or otherwise enhanced damages.

                      RESERVATION OF AFFIRMATIVE DEFENSES

       DISH gives notice that it intends to rely upon such other defenses as may become available

or ascertained during the course of discovery proceedings in this action, and reserves the right to

amend this Answer to assert any such defenses.

       WHEREFORE, having fully answered Plaintiffs’ Complaint, Defendant DISH Network

L.L.C. denies that Plaintiffs are entitled to any relief whatsoever, and respectfully requests that the

Court dismiss the Complaint with prejudice and enter judgment in favor of DISH, that the Court

award DISH its attorney’s fees and costs incurred in defending this action, and award such other

and further relief as the Court deems just and appropriate.



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             DISH’S COUNTERCLAIM AGAINST PLAINTIFF DAVID CALABRIS

        Pursuant to Fed. R. Civ. P. 13, DISH Network L.L.C. states the following for its

Counterclaim against Plaintiff David Calabris (“Mr. Calabris”).

                                             PARTIES

        1.      Defendant/Counterclaimant DISH Network L.L.C. (“DISH”) is a limited liability

company organized under the laws of the State of Colorado, with its principal place of business

located at 9601 S. Meridian Blvd., Englewood, Colorado 80112.

        2.      Upon information and belief, Plaintiff/Counterclaim Defendant David Calabris is

an individual residing in Charlotte, North Carolina.

                                         JURISDICTION

        3.      This Court has jurisdiction over DISH’s Counterclaim pursuant to 28 U.S.C.

§ 1367(a).

        4.      This Court has personal jurisdiction over Mr. Calabris because Mr. Calabris has

submitted himself to jurisdiction in this judicial district by virtue of bringing the Complaint against

DISH in this judicial district.

        5.      Venue of this dispute is proper pursuant to 28 U.S.C. § 1391(b)(2) and (3).

        6.      This Counterclaim arises out of the transaction or occurrence that is the subject

matter of Plaintiffs’ Complaint.

                                               FACTS

        7.      DISH and Mr. Calabris are parties to the captioned litigation.




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       8.      On or about January 10, 2017, Mr. Calabris entered into a DISH’n It Up Plan

Agreement and a Residential Customer Agreement (the “Agreements”) with DISH. True and

accurate copies of the Agreements are attached hereto as Exhibit A.

       9.      Pursuant to the Agreements, DISH was to provide certain digital satellite services

(the “Services”) to Mr. Calabris.

       10.     Under the Agreements, Mr. Calabris was to pay DISH for the Services and for

certain other early termination and related expenses.

       11.     Mr. Calabris also agreed to return all leased equipment to DISH in accordance with

the Agreements, and agreed that if he did not do so, DISH would charge him for certain

“Unreturned Equipment Charges,” as applicable.

       12.     Mr. Calabris agreed to a 24-month term commitment under the Agreements.

       13.     DISH provided the Services to Mr. Calabris until at least May 2018.

       14.     DISH invoiced Mr. Calabris for the Services provided to Mr. Calabris.

       15.     As of the date of the filing of this Counterclaim, Mr. Calabris owes DISH at least

$165.95 under the Agreements, plus pre-judgment interest, post-judgment interest, and costs.

                                    FIRST CLAIM FOR RELIEF
                                        (Breach of Contract)

       16.     DISH incorporates herein by reference each and every allegation set forth above in

its Counterclaim.

       17.     DISH and Mr. Calabris entered into the Agreements, each valid and binding

contracts, whereby DISH agreed to provide the Services to Mr. Calabris in exchange for payment.

       18.     DISH performed all of its obligations under the Agreements and all conditions

precedent to DISH’s recovery of the amounts due have occurred.

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       19.     Mr. Calabris has breached the Agreements by failing to pay DISH the amount due

under the Agreements.

       20.     Mr. Calabris’s breach of the Agreements has caused injury to DISH in the amount

of at least $165.95, plus pre-judgment interest, post-judgment interest, and costs.

       WHEREFORE, Defendant/Counterclaimant DISH Network L.L.C. denies that Plaintiffs

are entitled to any relief whatsoever, and respectfully requests that the Court enter judgment in

favor of DISH and against Mr. Calabris on DISH’s Counterclaim, that the Court award DISH its

attorneys’ fees and costs incurred in defending this action, and award DISH such other and further

relief as the Court deems just and appropriate.

                                 DEMAND FOR JURY TRIAL

       DISH demands a trial by jury on all claims and issues so triable.


       Dated: November 2, 2018                    /s/ Eric Larson Zalud
                                                  ERIC LARSON ZALUD
                                                  ANTHONY C. SALLAH
                                                  Benesch, Friedlander, Coplan & Aronoff LLP
                                                  200 Public Square, Suite 2300
                                                  Cleveland, Ohio 44114
                                                  216-363-4178 Telephone
                                                  216-363-4588 Facsimile
                                                  ezalud@beneschlaw.com
                                                  asallah@beneschlaw.com

                                                  Attorneys for Defendant DISH Network L.L.C.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 2, 2018, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which will send notification of such filing to the

following e-mail addresses:

                                    Omar T. Sulaiman, Esq.
                                    Alexander J. Taylor, Esq.
                                     Marwan R. Daher, Esq.
                              2500 South Highland Ave., Suite 200
                                    Lombard, Illinois 60148
                                 osulaiman@sulaimanlaw.com
                                   ataylor@sulaimanlaw.com
                                  mdaher@sulaimanlaw.com

                                    Attorneys for Plaintiffs




                                                /s/ Eric L. Zalud
                                                One of the Attorneys for Defendant
                                                DISH Network L.L.C.




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